       Case 5:16-cr-00023-RH-EMT          Document 105       Filed 02/06/17    Page 1 of 9
                                                                                           Page 1 of 9



                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF FLORIDA
                                  PANAMA CITY DIVISION

UNITED STATES OF AMERICA

-vs-                                                  Case # 5:16cr23-003

ANTOINETTE THERESA KNOWLES
                                                      USM # 25303-017

                                                      Defendant’s Attorney:
                                                      Dustin Scott Stephenson (Appointed)
                                                      1156 Jenks Avenue
                                                      Panama City, Florida 32401
___________________________________

                               JUDGMENT IN A CRIMINAL CASE

The defendant pleaded guilty to counts 1 and 3 of the indictment on October 14, 2016.
Accordingly, IT IS ORDERED that the defendant is adjudged guilty of such counts which involve
the following offenses:




        TITLE/SECTION                NATURE OF               DATE OFFENSE           COUNT
           NUMBER                     OFFENSE                 CONCLUDED



 21 U.S.C. §§ 841(a)(1),      Conspiracy to Distribute and    August 8, 2016           1
 841(b)(1)(A)(viii) and 846   Possess with Intent to
                              Distribute 50 Grams or More
                              of Methamphetamine and
                              500 Grams or More of a
                              Mixture and Substance
                              Containing a Detectable
                              amount of
                              Methamphetamine
 21 U.S.C. §§ 841(a)(1),      Possession With Intent to       August 4, 2016           3
 841(b)(1)(A)(viii) and       Distribute 50 Grams or More
 18 U.S.C. § 2                of Methamphetamine and
                              500 Grams or More of a
                              Mixture and Substance
                              Containing a Detectable
                              amount of
                              Methamphetamine
                              and Aiding & Abetting




Case No. 5:16cr23-003
      Case 5:16-cr-00023-RH-EMT           Document 105         Filed 02/06/17      Page 2 of 9
                                                                                              Page 2 of 9



The defendant is sentenced as provided in the following pages of this judgment. The sentence
is imposed pursuant to the Sentencing Reform Act of 1984.

It is ordered that the defendant shall notify the United States attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant must notify the court and United States attorney of material changes in economic
circumstances.



                                       Date of Imposition of Sentence:
                                       February 2, 2017




                                       s/Robert L. Hinkle
                                       United States District Judge
                                       February 6, 2017




Case No. 5:16cr23-003
      Case 5:16-cr-00023-RH-EMT         Document 105    Filed 02/06/17   Page 3 of 9
                                                                                  Page 3 of 9



                                      IMPRISONMENT

      The defendant is hereby committed to the custody of the United States
Bureau of Prisons to be imprisoned for a term of 42 months on counts 1 and 3, to
run concurrently.

         The Court recommends to the Bureau of Prisons in order of priority:

                   1. The defendant be designated to a facility as near as
                      possible to Panama City, Florida.

The defendant shall surrender for service of sentence by 2:00 p.m. on April 3,
2017, at the institution designated by the Bureau of Prisons or to the United States
Marshals Service at the United States Courthouse in Panama City, Florida.


                                          RETURN

I have executed this judgment as follows:
____________________________________________________________________________

____________________________________________________________________________


Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this

judgment.

                                     __________________________________
                                     UNITED STATES MARSHAL


                                     By:__________________________________
                                           Deputy United States Marshal




Case No. 5:16cr23-003
      Case 5:16-cr-00023-RH-EMT         Document 105       Filed 02/06/17    Page 4 of 9
                                                                                       Page 4 of 9




                                  SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release for a
term of 5 years on counts 1 and 3, to run concurrently.

                                 MANDATORY CONDITIONS

         1. You must not commit another federal, state, or local crime.
         2. You must not unlawfully possess a controlled substance.
            You must refrain from any unlawful use of a controlled substance. You must submit
            to one drug test within 15 days of release from imprisonment and at least two
            periodic drug tests thereafter, as determined by the court.
         3. You must cooperate in the collection of DNA as directed by the probation officer.


        You must comply with the standard conditions that have been adopted by this court as
well as with any other conditions on the attached page.




Case No. 5:16cr23-003
      Case 5:16-cr-00023-RH-EMT            Document 105         Filed 02/06/17       Page 5 of 9
                                                                                                Page 5 of 9



                        STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of
supervision. These conditions are imposed because they establish the basic expectations for
your behavior while on supervision and identify the minimum tools needed by probation officers
to keep informed, report to the court about, and bring about improvements in your conduct and
condition.

1.       You must report to the probation office in the federal judicial district where you are
authorized to reside within 72 hours of your release from imprisonment, unless the probation
officer instructs you to report to a different probation office or within a different time frame.
2.       After initially reporting to the probation office, you will receive instructions from the court
or the probation officer about how and when you must report to the probation officer, and you
must report to the probation officer as instructed.
3.       You must not knowingly leave the federal judicial district where you are authorized to
reside without first getting permission from the court or the probation officer.
4.       You must answer truthfully the questions asked by your probation officer.
5.       You must live at a place approved by the probation officer. If you plan to change where
you live or anything about your living arrangements (such as the people you live with), you must
notify the probation officer at least 10 days before the change. If notifying the probation officer in
advance is not possible due to unanticipated circumstances, you must notify the probation
officer within 72 hours of becoming aware of a change or expected change.
6.       You must allow the probation officer to visit you at any time at your home or elsewhere,
and you must permit the probation officer to take any items prohibited by the conditions of your
supervision that he or she observes in plain view.
7.       You must work full time (at least 30 hours per week) at a lawful type of employment,
unless the probation officer excuses you from doing so. If you do not have full-time employment
you must try to find full-time employment, unless the probation officer excuses you from doing
so. If you plan to change where you work or anything about your work (such as your position or
your job responsibilities), you must notify the probation officer at least 10 days before the
change. If notifying the probation officer at least 10 days in advance is not possible due to
unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
aware of a change or expected change.
8.       You must not communicate or interact with someone you know is engaged in criminal
activity. If you know someone has been convicted of a felony, you must not knowingly
communicate or interact with that person without first getting the permission of the probation
officer.
9.       If you are arrested or questioned by a law enforcement officer, you must notify the
probation officer within 72 hours.
10.      You must not own, possess, or have access to a firearm, ammunition, destructive
device, or dangerous weapon (i.e., anything that was designed, or was modified for, the specific
purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.      You must not act or make any agreement with a law enforcement agency to act as a
confidential human source or informant without first getting the permission of the court.
12.      If the probation officer determines that you pose a risk to another person (including an
organization), the probation officer may require you to notify the person about the risk and you
must comply with that instruction. The probation officer may contact the person and confirm
that you have notified the person about the risk.
13.      You must follow the instructions of the probation officer related to the conditions of
supervision.


Case No. 5:16cr23-003
      Case 5:16-cr-00023-RH-EMT         Document 105       Filed 02/06/17     Page 6 of 9
                                                                                        Page 6 of 9



U.S. PROBATION OFFICE USE ONLY

A U.S. probation officer has instructed me on the conditions specified by the court and has
provided me with a written copy of this judgment containing these conditions. For further
information regarding these conditions, see Overview of Probation and Supervised Release
Conditions, available at: www.uscourts.gov.


Defendant’s Signature_______________________              Date ______________________




Case No. 5:16cr23-003
      Case 5:16-cr-00023-RH-EMT         Document 105       Filed 02/06/17     Page 7 of 9
                                                                                        Page 7 of 9



                        SPECIAL CONDITIONS OF SUPERVISED RELEASE


       The defendant shall also comply with the following additional conditions of supervised
release:

                   1. The defendant must not own or possess a firearm, dangerous
              weapon, or destructive device.

                     2. The defendant must submit to testing to determine whether she
              is using drugs or alcohol.

                    3. The defendant must successfully participate in substance-abuse
              treatment consisting of an initial evaluation—by a probation officer or
              outside provider—and any further appropriate treatment. The treatment
              may include cognitive behavioral therapy.

                    4. The defendant must participate in a program of mental-health
              treatment.

                    5. The defendant must provide the probation officer all requested
              financial information, business or personal.

                    6. The defendant must submit to a search of his person, property,
              residence, office, vehicle, or surroundings, at the request of an officer
              who has reasonable suspicion that the search will turn up evidence of a
              crime or of a violation of a condition of supervision.




Case No. 5:16cr23-003
      Case 5:16-cr-00023-RH-EMT         Document 105        Filed 02/06/17     Page 8 of 9
                                                                                         Page 8 of 9




Upon a finding of a violation of probation or supervised release, I understand the Court may (1)
revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
supervision.
       These conditions have been read to me. I fully understand the conditions and have
been provided a copy of them.


__________________________________                                 ______________
Defendant                                                          Date




___________________________________                                ______________
U.S. Probation Officer/Designated Witness                          Date




Case No. 5:16cr23-003
      Case 5:16-cr-00023-RH-EMT         Document 105       Filed 02/06/17      Page 9 of 9
                                                                                           Page 9 of 9




                            CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments.

             ASESSEMENT                 JVTA*                  FINE            RESTITUTION
                                     ASSESSMENT
                  $200.00                -0-                    -0-                  -0-


                                SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties
is due as follows:

immediately.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment,
payment of criminal monetary penalties is due during the period of imprisonment. All criminal
monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.


The defendant shall receive credit for all payments previously made toward any criminal
monetary penalties imposed.




Case No. 5:16cr23-003
